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 5
     Attorney for Defendant
     LAVERNE FIELDS
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        )       No. CR-S-11-262 WBS
 9
                                                      )
                                                      )
10          Plaintiff,                                )       STIPULATION AND
                                                      )       [PROPOSED ORDER] CONTINUING
11
     v.                                               )       STATUS CONFERENCE
                                                      )
12
     LAVERNE FIELDS, et al.,                          )       Date: May 7, 2012
                                                      )       Time: 9:30 a.m.
13
                                                      )       Judge: Honorable William B. Shubb
            Defendants.                               )
14
                                                      )
                                                      )
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                                                      )
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17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Jason Hitt, Assistant United States Attorney, together with counsel for defendant

19   Laverne Fields, John R. Manning, Esq., counsel for defendant Erik Solisfox, Christopher Haydn-

20   Myer, Esq., and counsel for defendant Alexander Hughes, A. Stanley Kubochi, Esq., that the

21   status conference presently set for April 2, 2012 be continued to May 7, 2012, at 9:30 a.m.,

22   thus vacating the presently set status conference.

23          Defense counsel requires additional time to review the discovery and perform

24   investigation. Therefore, counsel for the parties stipulate and agree that the interests of justice

25   served by granting this continuance outweigh the best interests of the defendants and the public

26   in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/ reasonable time for effective

27   preparation) and Local Code T4, and agree to exclude time from the date of the filing of the

28   order until the date of the status conference, May 7, 2012.



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 1   IT IS SO STIPULATED.
 2

 3   Dated: March 28, 2012                                           /s/ John R. Manning
                                                                    JOHN R. MANNING
 4                                                                  Attorney for Defendant
                                                                    Laverne Fields
 5

 6   Dated: March 28, 2012                                          /s/ Christopher Haydn-Myer
                                                                    CHRISTOPHER HAYDN-MYER
 7                                                                  Attorney for Defendant
 8
                                                                    Erik Solisfox

 9   Dated: March 28, 2012                                          /s/ Stanley Kubochi
                                                                    A. STANLEY KUBOCHI
10                                                                  Attorney for Defendant
11
                                                                    Alexander Hughes

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13
     Dated: March 29, 2012                                          Benjamin B. Wagner
14                                                                  United States Attorney

15                                                          by:     /s/ Jason Hitt
                                                                    JASON HITT
16
                                                                    Assistant U.S. Attorney
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18
                                                   ORDER
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            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
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     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
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     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
24   failure to grant a continuance in this case would deny defense counsel to this stipulation
25   reasonable time necessary for effective preparation, taking into account the exercise of due
26   diligence. The Court finds that the ends of justice to be served by granting the requested

27   continuance outweigh the best interests of the public and the defendants in a speedy trial.

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            The Court orders that the time from the date of the parties' stipulation, March 29, 2012, to
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     and including May 7, 2012, shall be excluded from computation of time within which the trial of
 2
     this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
 3
     and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to prepare). It is
 4
     further ordered that the April 2, 2012, status conference shall be continued until May 7, 2012, at
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     9:30 a.m.
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 7
     IT IS SO ORDERED.
 8   Dated: March 29, 2012
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